     Case 1:07-cv-01238-LG-RHW       Document 181      Filed 10/07/09    Page 1 of 5




                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                             SOUTHERN DIVISION

MARGUERITE CARRUBBA                                                         PLAINTIFF

V.                                                    CIVIL ACTION NO. 1:07CV1238

HARRISON COUNTY, MISSISSIPPI BY AND
THROUGH ITS BOARD OF SUPERVISORS;
HARRISON COUNTY SHERIFF GEORGE PAYNE;
WAYNE PAYNE; DIANE GATSON RILEY;
STEVE CAMPBELL; RICK GATSON; RYAN TEEL;
KARLE STOLZE, WILLIAMS PRIEST, JAMES A.
GONDLES, JR. AMERICAN CORRECTIONAL
ASSOCIATION; JOHN AND JANE DOES 1-3;
HEALTH ASSURANCE LLC AND J. L. WHITE                                    DEFENDANTS


                DEFENDANT’S MOTION TO COMPEL PLAINTIFF TO
                       PROVIDE MEDICAL RECORDS

       COMES NOW Defendant, George Payne, Jr., in his official capacity, by and

through his attorneys, Dukes, Dukes, Keating & Faneca, P.A., and pursuant to the Federal

Rules of Civil Procedure, submits this Motion to Compel Plaintiff to Execute a Medical

Waiver authorizing Defendant to obtain her medical records from the Gulf Coast Mental

Health Center and would show unto the Court the following, to-wit:

                                           I.

       Plaintiff Marguerite Carrubba claims to have suffered (First Paragraph of Amended

Complaint) “grievous physical and mental injuries and related and resulting damages”

arising from her June 17, 2006 incarceration at the Harrison County Adult Detention

Center (hereinafter referred to as HCADC). Plaintiff also (Paragraph 150 of Amended

Complaint) alleges that she “suffered and continues to suffer from physical pain, mental

and emotional anguish” and Plaintiff also claims (Paragraph 152 of Amended Complaint)
    Case 1:07-cv-01238-LG-RHW          Document 181       Filed 10/07/09     Page 2 of 5




that she suffers from mental impairments which will require future medical treatment.

Finally, in the conclusion to her Amended Complaint Plaintiff claims “because of this, I will

never be the same physically or mentally”.

                                             II.

       As Plaintiff is alleging, “because of this I will never be the same physically or

mentally”, she has placed her pre-June 17, 2006 mental and emotional condition at issue

in her damages claim.

                                             III.

       Following Plaintiff’s discovery responses identifying the Gulf Coast Mental Health

Center (hereinafter referred to as GCMHC) as a medical provider, Plaintiff executed a

signed and notarized HIPPA compliant medical waiver authorizing Defendant to obtain her

medical/mental health records from the GCMHC. See Copy of waiver attached hereto as

Exhibit “A”.

                                             IV.

       Upon receipt of       Plaintiff’s executed medical waiver and Defendant’s

correspondence requesting Plaintiff’s records, the GCMHC provided Defendant with (a.)

an activity record showing dates of treatment of the Plaintiff from March 1, 1993 until June

10, 2009; and (b.) twenty-two (22) pages of Plaintiff’s actual medical records beginning

November 14, 2005 and continuing untill May 5, 2009.

                                             V.

       Upon inquiry to the GCMHC, its personnel said that the Plaintiff told them not do

disclose records before November 14, 2005. At her August 19, 2009 deposition, Plaintiff

testified that she told the GCMHC:


                                              2
    Case 1:07-cv-01238-LG-RHW         Document 181       Filed 10/07/09    Page 3 of 5




                            Q. And that was because you asked
                            them not to give us earlier records?
                            A. Yes.
                            Q. Why did you do that?
                            A. Because it has nothing to do with
                            this. I thought that you just needed what
                            happened from this incident forward.

       (Pl. Depo. P.104, L.2-8)
                                            VI.

       On September 10, 2009, Defendant’s counsel corresponded with Plaintiff’s attorney

requesting that Plaintiff produce the remainder of her GCMHC records in addition to the

November 14, 2005 to June 10, 2009 records that Mrs. Carrubba allowed the GCMHC to

produce. See correspondence attached hereto as Exhibit “B”. On September 11, 2009

Plaintiff’s counsel responded in part that “to date we have provided all medical records

which we believe are relevant to the instant litigation” and “we do not believe that Mrs.

Carrubba medical records dating back more than fifteen (15) years are relevant to the

instant allegations in this matter”. See correspondence attached hereto as Exhibit “C”.

                                           VII.

       The earliest records received were Plaintiff’s November 14, 2005 records, which

were 214 days, not fifteen (15) years, prior to her June 17, 2006 incident at the HCADC.

Plaintiff’s counsel also claimed to have “provided all medical records which we believe are

relevant”. This statement implies that Plaintiff’s counsel have either (a.) obtained and

reviewed all of Plaintiff’s GCMHC records and then decided that no pre-November 14,

2005 are relevant; or (b.) have obtained no GCMHC records and simply assume that no

records prior to November 14, 2005 would be relevant to Mrs. Carrubba’s prior mental

condition.



                                            3
    Case 1:07-cv-01238-LG-RHW         Document 181       Filed 10/07/09    Page 4 of 5




                                           VIII.

       The Federal Rules of Civil Procedure allow a party to request documents and/or

information that appear reasonably calculated to lead to the discovery of admissible

evidence. In this case, GCMHC medical records of Mrs. Carrubba’s long history (since

1993) of treatment for mental and emotional problems prior to her June 17, 2006

incarceration may reasonably lead to the discovery of admissible evidence as to her claim

“that because of this, I will never be the same physically or mentally”.

                                            IX.

       Pursuant to Local Rule 37.1, the Good Faith Certificate is attached hereto as

hereto as Exhibit “D”.

       WHEREFORE, PREMISES CONSIDERED, Defendant George Payne requests

this Honorable Court enter an Order compelling the Plaintiff to produce an executed and

notarized HIPPA compliant medical waiver authorizing Defendant to obtain her

medical/mental health records from the GCMHC.

       RESPECTFULLY SUBMITTED, this the 7th day of October, 2009.

                                          George Payne, Jr., in his official capacity,
                                          Defendant

                                   BY:    DUKES, DUKES, KEATING & FANECA, P.A.


                                   BY:    s/Cy Faneca
                                          CY FANECA, MSB #5188




                                            4
    Case 1:07-cv-01238-LG-RHW          Document 181       Filed 10/07/09    Page 5 of 5




                              CERTIFICATE OF SERVICE

       I, CY FANECA, do hereby certify that I have this day delivered, via electronic filing
and/or United States Mail, postage fully pre-paid, a true and correct copy of the above and
foregoing pleading to the following:


              Robert Harenski
              Robert G. Harenski and Associates
              1906 Pass Road
              Biloxi, MS 39531

              Patrick Buchanan
              Mark Watts
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              P.O. Box 1377
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              Karen J. Young
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              P.O. Box 1076
              Gulfport, MS 39502

              James L. Davis
              Ian A. Brendel
              Jim Davis, PA.
              P.O. Box 1521
              Gulfport, MS 39502


       This, the _7th day of October, 2009.


                                                  s/Cy Faneca
                                                  CY FANECA




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